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               EXHIBIT 11
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                                Now You Can Stream Google
                                Play Music Through Your
                                Sonos System




                                Sonos owners can get their Google Play on with the latest version of the Android
                                app.    IMAGE: GOOGLE




                                        W E ' R E F A N S O F Sonos' smart, wireless home audio

                                        equipment. They integrate with a host of streaming music
                                        services, like Pandora, Spotify and Beats Music, and now
                                        Sonos can check off one more: Google Play Music.

                                        Google Play Music launched almost a year ago at Google
                                        I/O, and became the fastest growing music service of 2013,


https://www.wired.com/2014/04/google-play-music-sonos/                                                                                     Page 1 of 5
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                                       according to IFPI (the International Federation of the
                                       Phonographic Industry). Not only does it let you store up
                                       to 20,000 songs online for free, but you can also buy
                                       songs directly through the platform for a monthly fee.

                                       Now, Google Play Music will be available as an option to
                                       Sonos owners via the Sonos controller app (iOS, Android,
                                       and web). And, for the first time, the Google Play Music
                                       Android app is getting updated with a button that lets
                                       users easily play music from any Sonos speaker in the
                                       house. This is the first time this sort of deep integration has
                                       happened between a third party music service and Sonos.

                                       With Sonos, tunes on Google Play Music stream directly to
                                       the hardware, rather than being routed first through your
                                       handset. Your phone acts only as a remote control for
                                       what's playing.

                                       "It's really changed how I use Sonos," Play Music's product
                                       lead Paul Joyce said of the update. "And it's definitely
                                       increased my listening with my own product too, which is
                                       embarrassing and awesome at the same time."

                                       While this announcement may not sound like much –
                                       particularly if you aren't currently a Sonos owner or
                                       Google Play Music aficionado – it's a strong indicator of
                                       how vital it is these days for hardware be imbued with
                                       relevant, easy-to-use software. It's not enough that Sonos
                                       can connect to the Internet over your home Wi-Fi
                                       network. It needs to work seamlessly with your favorite
                                       music streaming apps for it to be of the most value to you.

                                       And you can expect Google to continue to collaborate with
                                       other audio makers when appropriate. "We want to make
                                       it easy for users to enjoy their music and our services
                                       wherever they are," Joyce said.



                                       #APPS #AUDIO #GOOGLE #MUSIC




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